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                Adèle A. Keim
                                          District of Columbia Bar #989528; Virginia Bar #74676


          The Becket Fund for Religious Liberty
          1919 Pennsylvania Ave. NW, Suite 400, Washington, D.C. 20006              (202) 955-0095



          See attached.



          James B. Haddow
          Two Monument Square, Suite 900, Portland, ME 04112-8555                      (207) 775-0200


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                  6/13/2023                        /s/ James B. Haddow


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                                       State Bar Admissions

               State Bar               Year Admitted     Current Standing      Bar Number
   DC Bar                            9/11/2009          Active               989528
   Virginia Bar                      10/27/2008         Active               76476


                                      Federal Bar Admissions

                  Court               Year Admitted       Current Standing     Bar Number
   US Supreme Court                  2/22/2012          Active               No bar number
   Third Circuit                     1/18/2012          Active               No bar number
   Sixth Circuit                     9/14/2021          Active               No bar number
   Seventh Circuit                   1/20/2012          Active               No bar number
   Eighth Circuit                    6/30/2022          Active               No bar number
   Ninth Circuit                     05/18/2009         Active               No bar number
   Tenth Circuit                     11/30/2012         Active               No bar number
   Eleventh Circuit                  9/27/2022          Active               No bar number
   District of Maryland              2/1/2010           Inactive             17791
   District of Colorado              10/5/2013          Active               No bar number
   D.D.C.                            3/2/2012           Active               No bar number
   Eastern District of Virginia      5/13/2009          Active               76476
